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 1 RICHARD A. WRIGHT, ESQ.
     WRIGHT STANISH & WINCKLER
 2 300 South Fourth Street Ste 701
     Las Vegas, Nevada 89101
 3 (702) 382-4004
     Attorneys for RAMON DESAGE
 4
 5
 6
                              UNITED STATES DISTRICT COURT
 7
                                FOR THE DISTRICT OF NEVADA
 8
 9
10 UNITED STATES OF AMERICA,        )
                                    )
11                  Plaintiff,      )
     v.                             ) CASE No: 2:12-MJ-00441-PAL
12                                  )
     RAMON DESAGE,                  )
13   aka RAMOND ABI-RACHED,         )
     aka, RAMOND ANTOINE ABI-RACHED,)
14                                  )
                    Defendant.      )
15                                   )
16
17              STIPULATION TO CONTINUE PRELIMINARY HEARING DATE
                                  (Third Request)
18
           It is hereby stipulated and agreed, by and between DANIEL BOGDEN, United
19
     States Attorney, by J. Gregory Damm, and , Richard A. Wright, Esq., counsel for
20
     Ramon Desage, that the preliminary hearing of the above captioned matter, currently
21
     scheduled for December 27, 2012, be vacated and set to a date and time convenient to
22
     this Court on or after January 31, 2013.
23
           This stipulation is entered into for the following reasons:
24
           1.     The parties met and conferred regarding this case and investigation. An
25
     attorney for the defendant, George P. Kelesis, Esq., presented certain information to
26
     the government and requested additional time in order to assemble further information
27
28                                               1
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 1 to presente to the government.
 2          2.     The parties seek an opportunity to meet again and discuss the merits of

 3 the case prior to indictment. This meeting could result in the resolution of the matter.
 4          3.     George Kelesis, who has been lead counsel in discussions with the

 5 government, had expected to met with government counsel prior to December 7, 2012;
 6 however, George Kelesis has serious cardiac medical issues which render him
 7 unavailable. George Kelesis is under strict bed rest orders and is scheduled to
 8 commence a battery of tests on December 5, 2012, including a nuclear stress test, etc.
 9          4.     Richard Wright was not and is not prepared to step in for George Kelesis.

10          5.     The defendant is not in custody and requests this continuance.

11          6.     The additional time requested herein is not sought for purposes of delay,

12 but merely to allow the parties an opportunity to resolve this matter short of indictment.
13 Resolving this matter short of indictment will promote judicial efficiency.
14          7.     Additionally, denial of this request for continuance could result in a

15 miscarriage of justice, taking into account the exercise of due diligence.
16          8.     This is the third request for a continuance filed herein.

17                 DATED: December 3, 2012

18
19    DANIEL BOGDEN
      United States Attorney
20
     By          /SS/
21        J. GREGORY DAMM

22
     By        /SS/
23     RICHARD A. WRIGHT, ESQ.
       Attorneys for Defendant DESAGE
24
25
26
27
28                                                2
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 6
                               UNITED STATES DISTRICT COURT
 7
                                FOR THE DISTRICT OF NEVADA
 8
 9 UNITED STATES OF AMERICA,        )
                         Plaintiff, )
10   v.                             ) CASE No: 2:12-MJ-00441-PAL
                                    )
11   RAMON DESAGE,                  )
     aka RAMOND ABI-RACHED,         )
12   aka, RAMOND ANTOINE ABI-RACHED,)
                                    )
13                  Defendant.      )
                                     )
14
15
                  FINDINGS OF FACT, CONCLUSIONS OF LAW AND ORDER
16
17                                     FINDINGS OF FACT

18          Based upon the pending Stipulation of counsel and good cause appearing, the

19 Court finds that:
20          1.     The parties met and conferred regarding this case and investigation. An

21 attorney for the defendant, George P. Kelesis, Esq., presented certain information to
22 the government and requested additional time in order to assemble further information
23 to presente to the government.
24          2.     The parties seek an opportunity to meet again and discuss the merits of

25 the case prior to indictment. This meeting could result in the resolution of the matter.
26          3.     George Kelesis, who has been lead counsel in discussions with the

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                                                                         4 of 44 of 4




 1 government, had expected to met with government counsel prior to December 7, 2012;
 2 however, George Kelesis has serious cardiac medical issues which render him
 3 unavailable. George Kelesis is under strict bed rest orders and is scheduled to
 4 commence a battery of tests on December 5, 2012, including a nuclear stress test, etc.
 5          4.       Richard Wright was not and is not prepared to step in for George Kelesis.
 6          5.       The defendant is not in custody and requests this continuance.
 7          6.       The additional time requested herein is not sought for purposes of delay,
 8 but merely to allow the parties an opportunity to resolve this matter short of indictment.
 9 Resolving this matter short of indictment will promote judicial efficiency.
10          7.       Additionally, denial of this request for continuance could result in a
11 miscarriage of justice, taking into account the exercise of due diligence.
12          8.       This is the third request for a continuance filed herein.
13
14          For all of the above reasons, the ends of justice would be served best by a

15 continuance of the preliminary hearing date.
16                              ********************************************

17
18                                               ORDER

19          IT IS HEREBY ORDERED that the preliminary hearing in the matter of United

20 States v. Ramon Desage, 2:12-MJ-00441-PAL, currently scheduled for December 7,
21 2012 at 4:00 pm. be vacated and continued to February 5th, 2013 at the hour of 4:00pm
                                                                                      .
22          Dated:          December , 2012
23
24
25                          PEGGY A. LEEN
                            United States Magistrate Judge
26
27
28                                                   4
